Case 2:03-cv-02834-.]DB-STA Document 63 Filed 06/20/05 Page 1 of 2 Page|D 74

 

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' OF TN, MEMPH¢§
CARL EDWARDS, JUDGN|ENT |N A ClV|L CASE
P|aintiff,
V.
TOWN OF COLL|ERV|LLE, TENNESSEE, CASE NO:2:03-2834-B
etmq
Defendants.

 

This action came on for trial before the Court and a jury on Nlay 16, 2005, the
Honorable J. Daniel Breen, U.S. District Judge, presiding;

At the conclusion of defendants proofl the Court concluded that, when the facts
are viewed in the light most favorable to plaintiff, no reasonable jury could return a verdict
against the defendant and granted defendant's motion forjudgment as a matter of |aW;

lT |S ORDERED AND ADJUDGED that judgment is entered in favor of defendant,
Tovvn of Co|liervil|e, Tennessee, etal., and thatp|aintiff, Carl Edwards, take nothing, and that
the action is hereby dismissed on the merits.

APPROVED:

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ROBEHT R. Dl TROL|O

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D e Clerk of Court
(By) Deputy C| k

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This notice confirms a copy of the document docketed as number 63 in
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June 20, 2005 to the parties listed.

ESSEE

 

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Honorable J. Breen
US DISTRICT COURT

